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Case 17-13342   Doc   Filed 08/11/20 Entered 08/11/20 09:11:58   Desc Main
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                                                                                                                 PAGE 1 OF 2
             Case 17-13342            Doc      Filed 08/11/20 Entered 08/11/20 09:11:58 Desc Main
                                                   document Page 4 of 6           Annual Escrow Account
                                                                                   Disclosure Statement
  314 S. Franklin Street, 2nd Floor
  P.O. Box 517
  Titusville, PA 16354                                                       ACCOUNT NUMBER:
  1-800-327-7861
  https://myloanweb.com/BSI                                      004    1461698586_ESCROWDISCSTMT_200727

                                                                              DATE: 07/27/20

                                              58
           JEDIAEL DOS SANTOS                                                PROPERTY ADDRESS
           47 MILL ST                                                        47 MILL ST
           ABINGTON, MA 02351                                                ABINGTON, MA 02351



PLEASE REVIEW THIS STATEMENT CLOSELY - YOUR MORTGAGE PAYMENT MAY BE AFFECTED. THIS STATEMENT TELLS
YOU OF ANY CHANGES IN YOUR MORTGAGE PAYMENT, ANY SURPLUS REFUNDS, OR ANY SHORTAGE YOU MUST PAY.
IT ALSO SHOWS YOU THE ANTICIPATED ESCROW ACTIVITY FOR YOUR ESCROW CYCLE BEGINNING 09/01/2020
THROUGH 08/31/2021.
          -------- ANTICIPATED PAYMENTS FROM ESCROW 09/01/2020 TO 08/31/2021 ---------
TOWN                                                           $5,249.83
TOTAL PAYMENTS FROM ESCROW                                     $5,249.83
MONTHLY PAYMENT TO ESCROW                                         $437.48
          ------ ANTICIPATED ESCROW ACTIVITY 09/01/2020 TO 08/31/2021 ---------
                ANTICIPATED PAYMENTS                                                         ESCROW BALANCE COMPARISON
MONTH      TO ESCROW            FROM ESCROW               DESCRIPTION                 ANTICIPATED             REQUIRED

                                                   STARTING BALANCE -->             $4,846.54                    $875.03
SEP            $437.48                                                              $5,284.02                  $1,312.51
OCT            $437.48                                                              $5,721.50                  $1,749.99
NOV            $437.48                $1,299.57 TOWN                                $4,859.41                    $887.90
DEC            $437.48                                                              $5,296.89                  $1,325.38
JAN            $437.48                                                              $5,734.37                  $1,762.86
FEB            $437.48                $1,299.56 TOWN                                $4,872.29                    $900.78
MAR            $437.48                                                              $5,309.77                  $1,338.26
APR            $437.48                                                              $5,747.25                  $1,775.74
MAY            $437.48                $1,312.18 TOWN                                $4,872.55                    $901.04
JUN            $437.48                                                              $5,310.03                  $1,338.52
JUL            $437.48                                                              $5,747.51                  $1,776.00
AUG            $437.48                $1,338.52 TOWN                           L1-> $4,846.47             L2->   $874.96
               --------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE --------
IF THE ANTICIPATED LOW POINT BALANCE (L1) IS GREATER THAN THE REQUIRED BALANCE (L2), THEN YOU HAVE AN
ESCROW SURPLUS. YOUR ESCROW SURPLUS IS $3,971.51.
                                        CALCULATION OF YOUR NEW PAYMENT
PRIN & INTEREST                                                                  $822.52
ESCROW PAYMENT                                                                   $437.48
NEW PAYMENT EFFECTIVE 09/01/2020                                               $1,260.00
YOUR ESCROW CUSHION FOR THIS CYCLE IS $874.96.




                                  ********** Continued on reverse side ************




           Our records indicate that you have filed for Bankruptcy protection. As a result of your
           Bankruptcy filing, escrow account deficiencies prior to your filing date have been removed
           from calculation of your analysis, and they are now reflected as amounts due within your
           pre-petition arrearage. This Escrow Analysis Statement was prepared under the
           assumption that all escrow payments have been made in the amount required each
           month. The surplus funds indicated above are not an accurate reflection of your escrow
           account because no surplus funds will exist until all amounts are received towards your
           pre-petition arrearage.
                                                                                                                                                                                                 PAGE 2 OF 2
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                                                                                            ACCOUNT HISTORY
   THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE ACTUAL
   ESCROW ACTIVITY BEGINNING 08/01/2019 AND ENDING 07/31/2020. IF YOUR LOAN WAS PAID-OFF, ASSUMED OR
   TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS BEGING CHANGED, ACTUAL ACTIVITY STOPS AT
   THAT POINT. THIS STATEMENT IS INFORMATION ONLY AND REQUIRES NO ACTION ON YOUR PART.

   YOUR PAYMENT BREAKDOWN AS OF 08/01/2019 IS:
   PRIN & INTEREST                                                                                                                        $822.52
   ESCROW PAYMENT                                                                                                                         $401.34
   BORROWER PAYMENT                                                                                                                     $1,223.86
                        PAYMENTS TO ESCROW                                      PAYMENTS FROM ESCROW                                                                   ESCROW BALANCE
 MONTH           PRIOR PROJECTED                  ACTUAL                  PRIOR PROJECTED                    ACTUAL                      DESCRIPTION                 PRIOR PROJECTED                     ACTUAL
                                                                                                                                  STARTING BALANCE                         $1,605.41                        $2,665.56-
   AUG                  $401.34                  $1,594.40         *           $1,204.03                                          TOWN                                       $802.72                        $1,071.16-
   SEP                  $401.34                      $0.00         *                                                                                                       $1,204.06                        $1,071.16-
   OCT                  $401.34                    $797.20         *                                       $1,299.56 * TOWN                                                $1,605.40              A->       $1,573.52-
   NOV                  $401.34                    $797.20         *           $1,204.03                               TOWN                                                  $802.71                          $776.32-
   DEC                  $401.34                  $1,594.61         *                                                                                                       $1,204.05                          $818.29
   JAN                  $401.34                    $797.20         *                                       $1,312.18 * TOWN                                                $1,605.39                          $242.37-
   JAN                                                                                                       $545.68   TOWN
   FEB               $401.34                      $401.34                      $1,204.04                               TOWN                                                  $802.69                          $158.97
   MAR               $401.34                    $1,206.06          *                                                                                                       $1,204.03                        $1,365.03
   APR               $401.34                        $0.00          *                                                                                                       $1,605.37                        $1,365.03
   MAY               $401.34                      $802.68          *           $1,204.03                              TOWN                                        T->        $802.68                        $2,167.71
   JUN               $401.34                      $409.20          *                                      $1,312.16 * TOWN                                                 $1,204.02                        $1,264.75
   JUL               $401.34
                  __________                      $802.68
                                               __________          *         __________                   $1,338.52 * TOWN
                                                                                                         __________                                                        $1,605.36                          $728.91
                    $4,816.08                    $9,202.57                     $4,816.13                   $5,808.10


   UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHED THE LOWEST POINT, THAT BALANCE WAS
   TARGETED NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE
   LAW MAY SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.

   UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT BALANCE (T) WAS
   $802.68. YOUR ACTUAL LOW POINT ESCROW BALANCE (A) WAS $1,573.52-.

   BY COMPARING THE ANTICIPATED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN DETERMINE
   WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE AMOUNT OR
   DATE OF THE PROJECTED ACTIVITY THAT HAS NOT YET OCCURRED DUE TO THE DATE OF THIS STATEMENT.

   IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION TO WHICH THE
   ACTUAL ACTIVITY COULD BE COMPARED.

   Determining your Shortage or Surplus
   Shortage:
    .
   Any shortage in your escrow account is usually caused by one the following items:
    . An increase, if any, in what was paid for insurance and/or taxes from your escrow account.
    . A projected increase in taxes for the upcoming year.
      The number of months elapsed from the time of these disbursements to the new payment effective date.
   Shortages are divided evenly of the next twelve months. To reduce the increase in your monthly payment, the
   shortage can be paid either partially or in full.
   Surplus:
    .
   A surplus in your escrow account is usually caused by one the following items:
    .  The insurance/taxes paid during the past year were lower than projected.
    .  A refund was received from the taxing authority or insurance carrier.
       Additional funds were applied to your escrow account.
   If your surplus is $50.00 or greater and your loan was contractually current at the time when the analysis was
   run or calculated, a check will be sent to you. If your surplus is less than $50.00, the funds will be retained in
   your escrow account.




Licensed as Servis One, Inc. dba BSI Financial Services BSI Financial Services BSI NMLS# 38078.
Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).

If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge of your personal liability for the obligation identified in this letter, we may
not and do not intend to pursue collection of that obligation from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment from you
personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing, whatever rights we hold in the property that secures the obligation remain unimpaired.
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